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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NEW YORK

RYAN HARDY, individually and on behalf              Civil Action No.: 1:21-cv-1261
of all others similarly situated,
                                                    CLASS ACTION COMPLAINT
                 Plaintiff,

        v.                                          JURY TRIAL DEMANDED

OLE MEXICAN FOODS, INC.,

                 Defendant.


       Plaintiff Ryan Hardy (“Plaintiff”), on behalf of himself and all others similarly situated,

brings this class action against Ole Mexican Foods, Inc. (“Defendant”), on behalf of himself and

all others similarly situated, and alleges upon information and belief the following:

                                       INTRODUCTION

       1.      Plaintiff brings this consumer protection and false advertising class action

lawsuit against Defendant regarding its misleading business practices, with respect to the sale

of its La Banderita tortilla products. The tortilla products at issue in this case are La Banderita

Burrito Grande, La Banderita Sabrosísimas Corn, La Banderita Taco Size Flour Tortillas, and

La Banderita Whole Wheat Fajita (the “Products”).

       2.      Specifically, Defendant has marketed and sold these Products with labeling,

packaging, and advertising that leads consumers to believe that they are made in Mexico, when

in fact, they are not. To accomplish this, the front label of the Products prominently use the

Mexican flag in the center of the package, Spanish phrases like “El Sabor de Mexico!”

(meaning “A taste of Mexico”), and a logo that displays the Mexican flag with the word

“Authentic.”




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          3.      Tortillas are a staple of Mexican cuisine and are considered to have originated in

Mexico.1 The people of Mexico have a long history with tortillas and are generally credited

with having perfected the art of making them.

          4.      Because of this, consumers value tortilla products that are authentically made in

Mexico. Had Plaintiff and other consumers known that the Products were not made in Mexico,

they would not have purchased the Products or would have paid significantly less for them.

Therefore, Plaintiff and other consumers have suffered an injury-in-fact as a result of

Defendant’s deceptive practices.

          5.      Thus, Plaintiff, on behalf of himself and all others similarly situated, brings this

case seeking damages, restitution, declaratory and injunctive relief, and all other remedies this

Court deems appropriate.

                                   JURISDICTION AND VENUE

          6.      The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2) because the

matter in controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000,

this is a class action in which there are more than 100 Class members, and at least some Class

members are citizens of states different from Defendant.

          7.      This Court has personal jurisdiction over Defendant because Defendant

intentionally avails itself of the markets in New York through the promotion, marketing, and sale

of the Products in New York to render the exercise of jurisdiction by this Court permissible

under traditional notions of fair play and substantial justice.




1
    http://www.latortillaoven.com/history/ (last visited December 3, 2021).




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       8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)(2) because

a substantial part of the events and omissions giving rise to these claims occurred in this District.

Plaintiff resides and purchased the Product in this District.

                                             PARTIES

       9.      Plaintiff Ryan Hardy (“Mr. Hardy”) is a citizen of and resides in Buffalo, New

York. On or about December 2018, Mr. Hardy, purchased the La Banderita Taco Size Flour

Tortillas at a Tops Friendly Markets or Wegmans grocery store in West Seneca, New York. In

purchasing the Product, Mr. Hardy saw and relied on Defendant’s references to the Mexican

flag, the phrase “A Taste of Mexico!”, the brand name “La Banderita,” and the word

“Authentic.”

       10.     Based on these front-label representations, Mr. Hardy believed he was

purchasing tortillas made in Mexico. However, unbeknownst to Mr. Hardy, the Product is not

made in Mexico. Mr. Hardy would not have purchased the Product or would have paid

significantly less for it had he known that it was not made in Mexico. Therefore, Mr. Hardy

suffered an injury-in-fact and lost money as a result of Defendant’s misleading, false, unfair,

and fraudulent practices, as described herein.

       11.     Despite being misled, Mr. Hardy would purchase the Product in the future if the

Product was in fact made in Mexico. While Mr. Hardy currently believes the Product is not

made in Mexico, he lacks personal knowledge as to Defendant’s specific business practices,

leaving doubt in his mind as to the possibility that in the future the Product might conform to

the representations made on the front label of the Product, and might actually be made in

Mexico. This uncertainty, coupled with his desire to purchase the Product, and the fact that he

regularly visits stores which sell the Product, is an ongoing injury that can and would be




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rectified by an injunction enjoining Defendant from making the false and/or misleading

representations alleged herein. In addition, Class members will continue to purchase the

Products, reasonably but incorrectly believing that they are made in Mexico, absent an

injunction. Further, money damages alone are an inadequate remedy, as Class members will

continue to purchase the Products.

         12.   Defendant Ole Mexican Foods, Inc. maintains its principal place of business in

Norcross, Georgia. Defendant sells a line of products under the brand name La Banderita. The

La Banderita products are available at grocery retailers in New York, and include products like

tortillas, chorizo, chips, and salsas. Defendant, directly and/or through its agents, is responsible

for the manufacturing, packaging, marketing, distribution, and sale of the Products in New

York.

                                  FACTUAL ALLEGATIONS

         13.   Tortillas are a staple of Mexican cuisine. They are flat, thin, and circular, similar

to a thin flatbread. Typically, they are made from either corn or flour, and used in a variety of

ways.2

         14.   Tortillas are considered the national bread of Mexico and are “increasing in

popularity throughout the world,” with most of the tortillas in the world being produced in

Mexico.3

         15.   At all relevant times pertaining to this Complaint, the Products were sold in New

York, and across the United States at grocery chains, and other retailers.

2
  See Hartley, Alto, A Brief History of the Tortilla, February 16, 2018 available at
https://altohartley.com/a-brief-history-of-the-tortilla/#:~:text=According%20to
%20legend%2C%20tortillas%20were,some%20sort%20of%20maize%20bread (last
visited December 3, 2021)
3
  See L.W. Rooney, et al., Grain-Based Products and Their Processing,
https://www.sciencedirect.com/topics/food-science/tortilla (last visited December 3, 2021).




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       16.     The packaging of the Products, regardless of size or variety (e.g., corn tortillas

and flour tortillas) all contain the same misleading representations on the front label of the

Products, regarding the Mexican origin of the Products. Specifically, the front label of the

Products all contain:

               (a)      the phrase “El Sabor de Mexico!” or “A Taste of Mexico!”

               (b)      a Mexican flag on the front and center of the packaging; and

               (c)      the brand name “La Banderita” meaning “the flag”, which is a reference

                        to the Mexican flag displayed prominently on all the Products (the

                        foregoing representations are herein collectively referred to as the

                        “Mexican Representations”).

       17.     In addition, some of the Products also contain a circular logo on the front label

of the Products, with the Mexican flag and the word “Authentic.” Several of the Products also

contain Spanish words or phrases, on the front label of the Products, such as “Sabrosisimas”

and “Tortillas de Maiz.”

       18.     The foregoing representations, on the front label of the Products, taken in

isolation and as a whole, create the misleading impression that the Products are made in

Mexico, even though they are not.

       19.     Examples of the front label of each Product are included in the following pages:




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       20.     The Products’ labeling, packaging, and marketing are misleading to reasonable

consumers, including Plaintiff and other Class members, and only serve the profit-maximizing

interests of Defendant.

       21.     Defendant deceptively labeled and packaged the Products to target consumers

who are interested in purchasing tortillas from Mexico.

       22.     As the entity responsible for the development, manufacturing, packaging,

advertising, distribution, and sale of the Products, Defendant knew or should have known that

each of the Products falsely and deceptively misrepresents that the Products are made in

Mexico.

       23.     Defendant knows, knew or should have known, that Plaintiff and other

consumers did and would rely on the labeling, packaging, and advertising before purchasing

the Products, and would reasonably believe that the Products were made in Mexico because of

the Mexican Representations.

       24.     Because the Products are not made in Mexico as reasonably expected by

Plaintiff and other consumers, Defendant’s marketing of the Products was and continues to be

misleading and deceptive.

       25.     Each consumer has been exposed to the same or substantially similar deceptive

practices because: (1) each Product contains the Mexican Representations; and (2) each Product

is not made in Mexico.

       26.     Plaintiff and other consumers have paid an unlawful premium for the Products.

Plaintiff and other consumers would have paid significantly less for the Products had they

known that the Products were not made in Mexico. In the alternative, Plaintiff and other

consumers would not have purchased the Products at all had they known that the Products were




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not made in Mexico. Therefore, Plaintiff and other consumers purchasing the Products suffered

injury in fact and lost money as a result of Defendant’s false, unfair, and fraudulent practices,

as described herein.

       27.     As a result of its misleading business practices, and the harm caused to Plaintiff

and other consumers, Defendant should be enjoined from deceptively representing that the

Products are made in Mexico. Furthermore, Defendant should be required to pay for all

damages caused to misled consumers, including Plaintiff.

                              CLASS ACTION ALLEGATIONS

       28.     Plaintiff brings this class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, individually and on behalf of all persons who purchased any of the Products in New

York for personal, family, or household purposes, within the applicable statute-of-limitations

period (the “New York Class” or “Class”).

       29.     Excluded from the Class are the following individuals and/or entities: Defendant

and its parents, subsidiaries, affiliates, officers and directors, current or former employees, and

any entity in which Defendant have a controlling interest; all individuals who make a timely

election to be excluded from this proceeding using the correct protocol for opting out; and all

judges assigned to hear any aspect of this litigation, as well as their immediate family members.

       30.     Plaintiff reserves the right to modify or amend the definition of the proposed

Class after having had an opportunity to conduct discovery.

       31.     Numerosity: The members of the Class are so numerous that individual joinder of

all Class members is impracticable. Defendant has sold at least thousands of packages of the

Products to Class members. There are likely at least thousands of Class members.




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       32.     Common Questions Predominate: There are questions of law and fact common to

the proposed Class that will drive the resolution of this action and will predominate over

questions affecting only individual Class members. These questions include, but are not limited

to, the following:

               a. Whether Defendant misrepresented material facts and/or failed to disclose

                     material facts in connection with the packaging, marketing, distribution, and

                     sale of the Products;

               b. Whether Defendant’s use of false or deceptive packaging and advertising

                     constituted false or deceptive advertising;

               c. Whether Defendant engaged in unfair, unlawful and/or fraudulent business

                     practices;

               d. Whether Defendant’s conduct violated the numerous state consumer

                     protection statutes alleged herein;

               e. Whether Defendant’s unlawful conduct, as alleged herein, was intentional and

                     knowing;

               f. Whether Plaintiff and the Class are entitled to damages and/or restitution, and

                     in what amount;

               g. Whether Defendant is likely to continue using false, misleading or unlawful

                     conduct such that an injunction is necessary; and

               h. Whether Plaintiff and the Class are entitled to an award of reasonable

                     attorneys’ fees, interest, and costs of suit.

       33.     Defendant is engaged in a common course of conduct giving rise to violations of

the legal rights sought to be enforced uniformly by Plaintiff and Class members. Similar or




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identical statutory and common law violations, business practices, and injuries are involved. The

injuries sustained by members of the proposed Class flow, in each instance, from a common

nucleus of operative fact, namely, Defendant’s deceptive packaging and advertising of the

Products. Each instance of harm suffered by Plaintiff and Class members has directly resulted

from a single course of illegal conduct. Therefore, individual questions, if any, pale in

comparison to the numerous common questions presented in this action.

       34.     Superiority: Because of the relatively small size of the individual Class members’

claims, no Class member could afford to seek legal redress on an individual basis. Furthermore,

individualized litigation increases the delay and expense to all parties and multiplies the burden

on the judicial system presented by the complex legal and factual issues of this case.

Individualized litigation also presents a potential for inconsistent or contradictory judgments. A

class action is superior to any alternative means of prosecution.

       35.     Typicality: The representative Plaintiff’s claims are typical of those of the

proposed Class, as all members of the proposed Class are similarly affected by Defendant’s

uniform unlawful conduct as alleged herein.

       36.     Adequacy: Plaintiff will fairly and adequately protect the interests of the proposed

Class as his interests do not conflict with the interests of the members of the proposed Class he

seeks to represent, and he has retained counsel competent and experienced in class action

litigation. The interests of the members of the Class will be fairly and adequately protected by

the Plaintiff and his counsel.

       37.     This lawsuit is maintainable as a class action under Federal Rule of Civil

Procedure 23 because Defendant acted, or failed to act, on grounds generally applicable to




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Plaintiff and the proposed Class, supporting the imposition of uniform relief to ensure

compatible standards of conduct toward the members of the Class.

                                   FIRST CLAIM FOR RELIEF
                              Violation of N.Y. Gen. Bus. Law § 349
                                      (for the New York Class)
       38.      Plaintiff repeats the allegations contained in paragraphs 1-37 above as if fully set

forth herein.

       39.      Plaintiff brings this claim on behalf of himself and on behalf of the members of

the New York Class.

       40.      New York General Business Law (“GBL”) § 349 declares unlawful “[d]eceptive

acts or practices in the conduct of any business, trade or commerce . . .” GBL § 349(a).

       41.      The practices alleged herein – namely, deceiving consumers into believing that

the Products are made in Mexico, when they are not – are unfair, deceptive, and misleading, in

violation of GBL § 349.

       42.      The foregoing deceptive acts and practices were directed at Plaintiff and members

of the New York Class.

       43.      Defendant’s misrepresentations regarding the Products are material to a

reasonable consumer as the Mexican Representations relate to the origin of the Products. A

reasonable consumer attaches importance to such representations and is induced to act thereon

in making purchase decisions.

       44.      At all relevant times, Defendant has known or reasonably should have known

that the Products are not made in Mexico, and that Plaintiff and other members of the New

York Class would reasonably and justifiably rely on the labeling in purchasing the Products.

       45.      Plaintiff and members of the New York Class have been injured as a direct and

proximate result of Defendant’s misleading and fraudulent conduct described above as they




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would have paid significantly less for the Products, or would have purchased the Products, had

they known that they are not made in Mexico.

       46.      As a result of Defendant’s unlawful action, Plaintiff and members of the New

York Class seek to enjoin Defendant’s deceptive and unlawful acts and practices described

herein, to recover actual damages or fifty dollars (or both), whichever is greater, as well as treble

damages, reasonable attorneys’ fees, and all other remedies this Court deems proper.

                                 SECOND CLAIM FOR RELIEF
                              Violation of N.Y. Gen. Bus. Law § 350
                                      (for the New York Class)
       47.      Plaintiff repeats the allegations contained in paragraphs 1-37 above as if fully set

forth herein.

       48.      Plaintiff brings this claim on behalf of himself and on behalf of the members of

the New York Class.

       49.      GBL § 350 provides in relevant part: “False advertising in the conduct of any

business, trade or commerce . . . in this state is hereby declared unlawful.”

       50.      In turn, GBL § 350-a defines false advertising as:

       “[a]dvertising, including labeling, of a commodity . . . if such advertising is misleading in
       a material respect. In determining whether any advertising is misleading, there shall be
       taken into account (among other things) not only representations made by statement,
       word, design, device, sound or any combination thereof, but also the extent to which the
       advertising fails to reveal facts material in the light of such representations with respect to
       the commodity . . . to which the advertising relates under the conditions proscribed in
       said advertisement, or under such conditions as are customary or usual.”

       51.      Defendant’s actions are untrue and misleading through their deceptive packaging

and marketing of the Products, which deceives consumers into believing that the Products are

made in Mexico, when the Products are actually made in the U.S.

       52.      The foregoing misleading acts and practices were directed to Plaintiff and

members of the New York Class.




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       53.      Defendant’s false and misleading representations regarding the Products are

material to a reasonable consumer because they relate to the origins of the Products (i.e., where

the Products are made) purchased by the consumer. A reasonable consumer attaches importance

to such representations and is induced to act thereon in making purchasing decisions.

       54.      The foregoing misrepresentations have resulted in consumer injury or harm to the

New York public.

       55.      Plaintiff and members of the New York Class have been injured as a direct and

proximate result of Defendant’s violations described above, as they would not have purchased

the Products, or would have paid significantly less for them, had they known that the Products

are not made in Mexico.

       56.      As a result of Defendant’s unlawful action, Plaintiff and members of the New

York Class seek to enjoin Defendant’s misleading and unlawful acts and practices described

herein, to recover actual damages or five hundred dollars per violation, whichever is greater (or

both), as well as treble damages, reasonable attorneys’ fees, and all other remedies this Court

deems proper.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully prays for

following relief:

       A.       Certifying the Class as requested herein, designating Plaintiff as class

representative, and appointing the undersigned counsel as class counsel;

       B.       Declaring that Defendant is financially responsible for notifying the New York

Class members of the pendency of this suit;




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       C.      Ordering restitution and disgorgement of all profits and unjust enrichment

Defendant obtained from Plaintiff and the New York Class members as a result of Defendant’s

unlawful, unfair and fraudulent business practices;

       D.      Ordering payment of damages as permitted by law, including actual,

compensatory, statutory, and punitive damages, to the full extent permitted by law;

       E.      Ordering injunctive relief as permitted by law or equity, including enjoining

Defendant from continuing the unlawful practices as set forth herein, and ordering Defendant to

engage in a corrective advertising campaign;

       F.      Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiff and the

other members of the New York Class;

       G.      Ordering Defendant to pay both pre- and post-judgment interest on any amounts

awarded; and

       H.      Ordering such other and further relief as may be just and proper.


                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury of all claims in this Complaint so triable.

DATED: December 3, 2021                        FARUQI & FARUQI, LLP

                                               By: /s/ Innessa M. Huot
                                                       Innessa M. Huot (IH-1916)

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